                               IN THE UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF TENNESSEE
                                        NASHVILLE DIVISION

JANET PATTERSON,                                    )
                                                    ) Civil Action 3-10-CV-000996-001
                  Plaintiff,                        )
                                                    ) Judge Nixon
v.                                                  )
                                                    ) Magistrate Judge Griffin
SAFECO INSURANCE COMPANY OF                         )
AMERICA,                                            )
                                                    )
                  Defendant                         )

                                      ORDER OF DISMISSAL

       Comes Janet Patterson, by and through counsel, and represents that all matters, issues and

controversies by and between the Plaintiff and Defendant have been compromised and settled to the

mutual satisfaction of the parties.

       It is THEREFORE, ORDERED, ADJUDGED AND DECREED that this action is dismissed

with prejudice.

       ENTERED this ___________ day of ________________, 2012.




                                             ______________________________________
                                             JUDGE


APPROVED FOR ENTRY:



/s/ Timothy W. Burrow
Timothy W. Burrow, BPR No. 017280
Burrow & Cravens, P.C.


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Attorney for Janet Patterson

                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and accurate copy of the foregoing has been
served, via the method(s) indicated below, on all counsel:

       ( ) Hand ( ) Mail (     ) Fax ( ) Fed. Ex. ( ) E-mail ( X ) Electronic

       John R. Wingo, Esq.
       Kevin P. Hartley, Esq.
       Stites & Harbison
       401 Commerce Street, Suite 800
       Nashville, Tennessee 37219
       Attorney for Safeco Insurance Company of America

       This 15th day of April, 2012.



                                              /s/ Timothy W. Burrow
                                            Timothy W. Burrow




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